Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 1 of 25 PageID 52




                  UNITED STATES DISTRICT COURT
            MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

                        CASE NO: 8:22-CV-00512-MSS-AEP

LORI FLYNN,                                  )
                                             )
                       Plaintiff,            )
                                             )
      vs.                                    )
                                             )
CABLE NEWS NETWORK, INC.                     )
                                             )
                       Defendant.            )

                DEFENDANT CABLE NEWS NETWORK INC.’S
                    MOTION TO DISMISS COMPLAINT

      Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant Cable News

Network, Inc. (“CNN”) moves to dismiss with prejudice Plaintiff Lori Flynn’s

(“Plaintiff”) Complaint (Dkt. 1) for failure to state a claim.

                                    INTRODUCTION

      This defamation lawsuit arises out of a CNN report entitled “CNN Goes Inside

A Gathering of QAnon Followers” (the “Report”). Plaintiff is not the subject of the

Report, nor named in the Report, nor discussed in the Report in any way. Instead, she

appears for less than two seconds in a clip from a video (the “Video”) posted to Twitter

by her husband, General Michael Flynn (“General Flynn”), and incorporated into the

Report. In the Video, General Flynn, standing alongside Plaintiff and other members

of the Flynn family, recites the phrase, “Where We Go One, We Go All” (the “QAnon

Slogan”), a slogan primarily (if not solely) associated with the QAnon conspiracy
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 2 of 25 PageID 53




theory. Based on this silent, unnamed, fleeting appearance, Plaintiff alleges that CNN

called her “violent,” “racist” and “anti-Semitic,” among other things. Plaintiff’s claims

for defamation per se and defamation by implication fail.

       First, as to the defamation per se claim, Plaintiff has failed to allege that the

Report actually contained a false statement of fact about her. Instead, she seeks to

strain the meaning of the Report beyond all reason to create falsity where none exists.

Plaintiff’s defamation per se claim also fails because in pleading the defamatory

character of the Report she repeatedly, and impermissibly, cites to sources other than

the Report itself. In so doing, Plaintiff has attempted to plead a claim for defamation

per quod. But, any defamation per quod claim would also fail, because Plaintiff has not

plausibly alleged special damages, which are required under Florida law.

       Second, Plaintiff’s defamation by implication claim fails because she has not

adequately alleged which statements in the Report are literally true, a required element

of the claim. Instead, she apparently relies on the very same portions of the Report she

alleges are false in the defamation per se claim – an inconsistency that demonstrates the

patent absurdity of her Complaint. Because defamation by implication depends on the

clear articulation of literally truthful facts, this failure dooms her claim.

       Finally, Plaintiff does not – and cannot – plausibly plead that CNN acted

negligently in publishing the Report, because Plaintiff concededly spoke that phrase in

the Video and because the connection between the Flynns and QAnon was widely

reported on when General Flynn first posted the Video. CNN, therefore, would not




                                             2
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 3 of 25 PageID 54




have had reasonable grounds to doubt that Plaintiff was, in fact, a follower of QAnon.

       Plaintiff is no doubt emboldened to bring this claim by a recent decision of the

U.S. District Court for the Southern District of New York, in which the court (applying

Rhode Island law) held that Plaintiff’s brother-in-law and his wife pleaded a claim for

false light based on the Report. But Florida law does not recognize a claim for false

light. Plaintiff was required to plead the elements of defamation per se or defamation

by implication. She did not do so here. The Complaint should be dismissed.

       BACKGROUND

       A.      The Parties

       Plaintiff is a resident of Florida and is the wife of General Flynn, who served

as former President Trump’s National Security Advisor. Compl. ¶ 9.1

       CNN owns and operates numerous news platforms and services, including the

television network known as CNN and the website www.cnn.com. Id. ¶ 10.

       B.      The “#TakeTheOath” Video and Resulting News Coverage

       On July 4, 2020, General Flynn took part in a Twitter movement called

#TakeTheOath by sharing the Video, which shows him leading his family, including

Plaintiff, in reciting the oath of office given to federal elected officeholders. Compl. ¶

3. When the oath is completed, General Flynn recites the QAnon Slogan, which

Plaintiff and the other family members repeat. Id.; Declaration of Katherine Bolger




1
 Throughout this brief, CNN cites documents that are incorporated by reference into the Complaint,
including the Report, several news publications and government documents and court filings. CNN
respectfully requests that this Court take notice of these documents. See infra n.2.


                                                3
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 4 of 25 PageID 55




(“Bolger Decl.”) Ex. 1, to be conventionally filed; see Motion for Leave to File

Audiovisual Exhibits (Dkt. 17). The Flynns then said, “God Bless America.” Compl.

¶ 3. Several news outlets, including CNN and the Washington Examiner, reported on

the Video, describing the phrase spoken by the family as a “QAnon slogan.” Compl.

¶ 3 n.1; Bolger Decl. Ex. 2; Report and Recommendation, Flynn v. Cable News Network,

2021 WL 6290046, at *3 (S.D.N.Y. Oct. 22, 2021) (“R. & R.”), report and

recommendation adopted in part, rejected in part, 2021 WL 5964129 (S.D.N.Y. Dec. 16,

2021).

         C.    QAnon and the QAnon Slogan

         As the news and government sources incorporated in the Complaint establish,

QAnon refers to a movement that promotes a set of unfounded conspiracy theories

about a secret plot orchestrated by the so-called “Deep State” to control the world.

Bolger Decl. Ex. 3. QAnon adherents share GIFs, memes and slogans on social media

as a way to express their opposition to the Deep State and support for each other. See

R. & R., 2021 WL 6290046 at *14. General Michael Flynn is a hero of the QAnon

movement. Bolger Decl. Ex. 2.

         The QAnon Slogan is central to QAnon beliefs. See United States v. Languerand,

2021 WL 3674731, at *3 (D.D.C. Aug. 19, 2021) (“where we go one, we go all” is “a

slogan used by adherents of the QAnon conspiracy theory.”). It is incorporated into

QAnon “anthems,” and featured on QAnon merchandise. Bolger Decl. Ex. 4. Its use

is “pervasive” in the QAnon community. Bolger Decl. Ex. 2.




                                            4
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 5 of 25 PageID 56




      D.     The Report

      On February 4, 2021, CNN aired the Report. Compl. ¶ 3; Bolger Decl. Ex. 5.

The Report, which is three-and-a-half minutes long, is composed of footage of reporter

Donie O’Sullivan’s (“O’Sullivan”) attendance at a QAnon gathering in Arizona two

weeks before the 2020 presidential election. Id. A chyron that reads “CNN Goes

Inside a Gathering of QAnon Followers” remains at the bottom of the screen during

the entirety of the Report (the “Chyron”). Id. The Report identifies several QAnon

figures, states that some took part in the Capitol insurrection, and then shows an

individual singing a song that incorporates the phrase “where we go one, we go all,”

which O’Sullivan explains is an “infamous QAnon slogan that has been promoted by”

General Flynn, “Trump’s first national security advisor.” Id. During O’Sullivan’s

explanation, the Report shows photos of the phrase abbreviated as “#WWG1WGA”

and printed, with the letter “Q,” on large flags, followed by a clip of General Flynn

with Trump at a campaign rally. Id. O’Sullivan’s statement is then followed with a

two-second clip of the Video, showing General Flynn speaking the QAnon slogan. Id.

Plaintiff, who is not named, is also visible in the clip, but is not shown speaking any

words. Id. The Report also shows Trump refusing to disavow QAnon and concludes

with a man singing the QAnon Slogan at the gathering. Id. Plaintiff’s claims arise from

the two-second clip of the Video in the Report. Compl. ¶ 3.

      E.     The Flynn Family Sues CNN

      On March 25, 2021, Plaintiff’s brother-in-law Jack, and his wife, Leslie sued

CNN in the Southern District of New York based on the Report (the “SDNY Suit”).


                                          5
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 6 of 25 PageID 57




See Flynn v. Cable News Network, 1:21-cv-02587-GHW (SDNY 2021). Their complaint,

which is similar to Plaintiff’s Complaint, alleged that CNN defamed them and cast

them in a false light via the Chyron. The SDNY Suit included several Tweets ratifying

QAnon beliefs. Bolger Decl. Ex. 6; see R. & R., 2021 WL 6290046, at *10. CNN moved

to dismiss for failure to state a claim on several grounds, including because the

plaintiffs had failed to plausibly plead defamation per se, special damages, negligence,

and, most importantly, falsity, as their Twitter activity showed it to be substantially

true that they are QAnon followers. Bolger Decl. Ex. 7.

       On October 22, 2021, Magistrate Judge Cave issued the R. &. R., holding that,

“[b]y their own statements, … [Plaintiffs] connected themselves to QAnon, and

therefore, cannot plausibly allege that CNN’s statements were substantially false.” R.

& R., 2021 WL 6290046 at *15. The R. &. R. held that both the defamation and false

light claims failed as a matter of law. Id. at *13, *18. The R. & R. also held that the

plaintiffs failed to allege that the statement was defamatory per se, failed to plead special

damages, and failed to allege negligence as to Leslie Flynn. Id. at *15-18.

       On December 16, 2021, Judge Wood in the SDNY Suit adopted in part and

rejected in part the R. & R. See Flynn, 2021 WL 5964129. The court agreed that the

plaintiffs had not pleaded a claim for defamation per se or special damages. Id. at *5-6.

But the court reversed the dismissal of the false light claim and the R. & R.’s finding

as to negligence. Id. at *6. The court appeared to reject the plaintiffs’ allegations that

they were not affiliated with QAnon, and instead concluded that their Tweets

“express[ed] support for QAnon and [were] evidence that the Flynns were QAnon

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Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 7 of 25 PageID 58




followers.” Id. at *4. But the court held that Plaintiffs’ false light claim survived

because Plaintiffs’ expressions of support for QAnon did not “conclusively contradict”

the plaintiffs’ factual allegations that they were not QAnon followers. Id. at *4, *6.

      On December 30, 2021, CNN moved for reconsideration, on the grounds that

the court did not address, as it was required to do under settled Second Circuit

precedent, whether the statement that Plaintiffs are “QAnon followers” has the same

gist as “Plaintiffs expressed support for QAnon,” and thus whether the statement is

substantially true. Bolger Decl. Ex. 8. In addition, CNN argued that the court

misapplied the applicable negligence standard in holding that the plaintiffs had

plausibly alleged negligence. Id. That motion is currently pending.

      On February 9, 2022, Plaintiff’s sister-in-law Valerie Flynn sued CNN in this

Court based on the Report. See Flynn v. Cable News Network, No. 8:22-cv-00343-MSS-

SPF (M.D. Fla. 2022). That complaint, which Plaintiff reproduces nearly verbatim in

this case, alleged that CNN defamed Valerie Flynn via the Chyron. Bolger Decl. Ex.

9. On March 7, 2022, CNN moved to dismiss for failure to state a claim on several

grounds, including because the plaintiff had failed to plausibly plead defamation per

se, special damages, defamation by implication, and negligence. Bolger Decl. Ex. 10.

Two weeks later, on March 21, 2022, Valerie filed an amended complaint, Bolger

Decl. Ex. 11, which CNN again moved to dismiss on April 11, 2022. Bolger Decl.

Ex. 12. That motion is currently pending before this Court.

      F.     This Lawsuit

      Plaintiff filed this lawsuit on March 3, 2022, replicating Valerie’s allegations


                                            7
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 8 of 25 PageID 59




almost in full and claiming that the Report falsely accused her of being a “QAnon

follower.” Compl. ¶¶ 3-4. The Complaint alleged two counts: defamation per se and

defamation by implication. Id. ¶¶ 14-31. Plaintiff claims $25,000,000 in presumed and

actual damages and $75,000,000 in punitive damages. Id. at 18.

                                      ARGUMENT

       This Court should dismiss Plaintiff’s Complaint because Plaintiff has not

pleaded the elements of either a defamation per se or a defamation by implication

claim. On the contrary, she is seeking to recover – as her relatives did under Rhode

Island law – because she believes the Report at issue made her look bad. But such a

claim could only sound in tort as a false light claim, and the Florida Supreme Court

rejected false light claims in no small part to avoid just this type of nebulous pleading.

See Jews for Jesus, Inc. v. Rapp, 997 So. 2d 1098 (Fla. 2008). For a claim to be sustained

under Florida law, Plaintiff must properly plead the specific elements of defamation per

se, defamation per quod, or defamation by implication, which she has not done here.

       To survive a motion to dismiss for failure to state a claim, a complaint must

allege sufficient facts to state a claim for relief that is plausible on its face. Fuentes v.

Mega Media Holdings, Inc., 721 F. Supp. 2d 1255, 1257 (S.D. Fla. 2010); see Ashcroft v.

Iqbal, 556 U.S. 662, 679 (2009) (“only a complaint that states a plausible claim for

relief survives a motion to dismiss.”). A claim is plausible “when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. at 678 (citations omitted). See Bell



                                             8
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 9 of 25 PageID 60




Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). “Dismissal is appropriate where it is

clear the plaintiff can prove no set of facts in support of the claims in the complaint.”

Marshall Cnty. Bd. of Educ. v. Marshall Cnty. Gas Dist., 992 F.2d 1171, 1174 (11th Cir.

1993).2 In addition, federal and Florida courts have long favored early dismissal of

untenable defamation claims. See Michel v. NYP Holdings, Inc., 816 F.3d 686, 702 (11th

Cir. 2016) (“there is a powerful interest in ensuring that free speech is not unduly

burdened by the necessity of defending against expensive yet groundless litigation”).

I.      FLORIDA LAW DOES NOT RECOGNIZE FALSE LIGHT CLAIMS

        There is a substantial difference between the false light claim upheld in the

SDNY Suit and the defamation per se and defamation by implication claims at issue

here. In Rhode Island, a plaintiff can recover for false light when “(a) there has been

some publication of a false or fictitious fact which implies an association which does

not exist; and (b) the association which has been published or implied would be

objectionable to the ordinary reasonable man under the circumstances.” 9 R.I. Gen.


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  While courts generally may not consider material outside the complaint on a motion to dismiss, a
“district court may also consider documents referenced in the complaint, even if they are not
physically attached, if the documents are (1) central to the complaint and (2) no party questions their
authenticity.” Basson v. Mortg. Elec. Registration Sys., Inc., 741 F. App'x 770, 771 (11th Cir. 2018) (citing
Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005)). Courts may also “go beyond the complaint to …
consider[] matters of general public record.” Sizemore v. United States, 651 F. Supp. 463, 466 (M.D. Fla.
1985). Here, the Complaint relies heavily on the Report itself, along with the Video, several news
articles, transcripts of news broadcasts, and a House Resolution, to assert the purported defamatory
meaning of the Report. See Bolger Decl. Exs. 1-3, 5, 13-17. These documents, attached to or referenced
in the Complaint, are properly considered on this motion to dismiss because they are incorporated by
reference into and are integral to the Complaint. See, e.g., Horsley v. Feldt, 304 F.3d 1125, 1134-35 (11th
Cir. 2002) (applying incorporation by reference doctrine and considering article containing allegedly
defamatory statements as part of pleadings). Judicial notice of documents is also permissible for the
purpose of establishing that the information was publicly available, rather than for their truth. See In
re Greenlane Holdings, Inc. Sec. Litig., 511 F. Supp. 3d 1283, 1307 n.15 (S.D. Fla. 2021).



                                                     9
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 10 of 25 PageID 61




Laws Ann. § 9-1-28.1(a)(4)(i)(A)-(B) (West 1980). But Florida has rejected false light

as a viable cause of action. See Jews for Jesus, 997 So. 2d at 1114. The Florida Supreme

Court has made clear that the “danger of unreasonably impeding constitutionally

protected speech” posed by the nebulous nature of the tort far outweighs the risk of

leaving a “wrong without a remedy.” Id. Florida plaintiffs seeking redress for critical

speech must, therefore, plead the specific elements of defamation per se or per quod, or

defamation by implication – including, respectively, a “false statement of fact” id.

1109, or “literally true statements that create a false impression.” Id. at 1106. Plaintiff

has not done so, nor can she.

II.    PLAINTIFF HAS NOT PLEADED DEFAMATION PER SE

       Plaintiff has not pleaded a cause of action for defamation per se.

       A.     Plaintiff Has Not Pleaded The Report Is Of And Concerning Her

       Plaintiff cannot establish that the Report made any statements at all, much less

defamatory ones, about her. Plaintiff bears the burden of pleading that the alleged

defamation is “of and concerning” her. See Parekh v. CBS Corp., 820 F. App’x 827, 833

(11th Cir. 2020). “[I]f a defamed person is not named in the defamatory publication,

the communication as a whole [must] contain [ ] sufficient facts or references from

which the injured person may be determined by the persons receiving the

communication.’” Mac Isaac v. Twitter, Inc., 557 F. Supp. 3d 1251, 1258 (S.D. Fla.

2021). “The relevant inquiry is whether the average person upon reading [the]

statements could reasonably have concluded that the plaintiff [ ] was implicated’” by

the challenged statements. Id. at 1259 (citations and internal quotation marks omitted).


                                            10
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 11 of 25 PageID 62




It is not enough that a short clip showing the Plaintiff happens to appear in the Report.

Instead, the allegedly libelous statements themselves must “refer to a plaintiff.” Thomas

v. Jacksonville Television, Inc., 699 So. 2d 800, 805 (Fla. 1st DCA 1997) (quoting

Anyanwu v. Columbia Broad. Sys., Inc., 887 F. Supp. 690, 692 (S.D.N.Y.1995)).

      Here, Plaintiff has failed to allege that the Report contains any defamatory

statements about her. Plaintiff’s chief concern seems to be that she was “harmed by

the mere association with QAnon,” Compl. ¶ 22 n.7. But the Report makes no such

association. The Report says General Flynn promoted the QAnon Slogan – but

Plaintiff is not her husband, and being associated with someone is not, absent more,

defamatory. See Tracy v. Newsday, Inc., 5 N.Y.2d 134, 138 (N.Y. 1959) (statement that

plaintiff aided criminal was “false and probably offensive, but … not actionable”).

Instead, in the actual Report, Plaintiff is barely seen, remains unidentified, and is not

heard saying anything. The Report’s subject is the QAnon convention that occurred

in Arizona two weeks before the 2020 election, as evidenced by the Chyron’s clear

reference to the “gathering of QAnon followers.” To the extent the Report says

anything about Plaintiff, it is only that she undisputedly stood next to General Flynn

while he said the QAnon Slogan. In short, the Report does not associate Plaintiff with

QAnon.

      Nor is it material that Plaintiff’s image appears in the Report without any

blurring. Compl. ⁋ 4 n.2. Putting aside that it was General Flynn who first publicized

Plaintiff’s face saying the QAnon slogan – and not CNN – Plaintiff’s mere visibility

does transform her into a “subject” of the Report, such that it is “of and concerning”

                                           11
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 12 of 25 PageID 63




her. Rather, Plaintiff must show that the allegedly defamatory statements, here the

Chyron, must be of and concerning her. Sloan v. Shatner, 2018 WL 3769968, at *6

(M.D. Fla. June 22, 2018). Neither the Chyron nor the Report, however, say anything

about Plaintiff, let alone makes her the subject of the Report or labels her as a QAnon

follower. For this reason alone, the Complaint must be dismissed.3

       B.      Plaintiff Has Not Pleaded That CNN Published A False And
               Defamatory Statement of Fact

       The defamation per se claim also fails because Plaintiff has not plausibly alleged

a false, defamatory statement of fact actually contained in the Report. Falsity “is the

sine qua non for recovery in a defamation action.” Byrd v. Hustler Magazine, Inc., 433 So.

2d 593, 595 (Fla. 4th DCA 1983); see also Hallmark Builders Inc. v. Crylad Builders, 733

F2d 1461, 1464 (11th Cir. 1984). Whether “the statement at issue [is] reasonably

capable of a defamatory interpretation” is a question of law. Keller v. Miami Herald

Publ’g Co., 778 F.2d 711, 714-15 (11th Cir. 1985). The key question is not what the

Plaintiff alleges but “how a reasonable and common mind would understand the

statements,” and the court “should not give the statements a tortured interpretation.”

Schiller v. Viacom, Inc., 2016 WL 9280239, at *8 (S.D. Fla. Apr. 4, 2016); Byrd, 433 So.

2d at 595; Nelson v. Associated Press, Inc., 667 F. Supp. 1468, 1477 (S.D. Fla. 1987).

Here, the actual content of the Report – as Plaintiff herself pleads – is true. Plaintiff


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 While the R. & R. found that Plaintiff’s family members had pleaded that the Report was of and
concerning them, it did so primarily because their Complaint included a screenshot of a text message
showing that Leslie Flynn’s friend recognized them from the telecast. R. & R., 2021 WL 6290046 at
*13. Here, by contrast, Plaintiff has failed to identify a single person who recognized her from the
Report, let alone a person who understood the allegedly defamatory statements to refer to her
specifically.


                                                12
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 13 of 25 PageID 64




admits she was there when General Flynn said “where we go one, we go all” and that

she herself said the Slogan and that the Video was posted to Twitter by General Flynn.

Compl. ¶ 3. And Plaintiff cannot dispute that the Tweet included the QAnon hashtag,

#TakeTheOath. Bolger Decl. Ex. 1. Instead, Plaintiff weakly alleges that the Report

is false because it “accused Lori of being a ‘follower’ of the ‘dangerous’, ‘violent’,

‘racist’, ‘extremist’, ‘insurrectionist’, ‘domestic terrorism’ movement – QAnon.”

Compl. ¶ 3. The Report does not, however, actually contain these words. Plaintiff has

thus failed to identify a single false statement of fact in the Report.

       And Plaintiff’s efforts to urge the Court to consider only a screenshot of the

Flynns saying the QAnon Slogan juxtaposed with the Chyron – and to therefore

conclude that CNN accused Plaintiff of being a QAnon follower – fail because doing

so would be a strained construction of the Report. In assessing defamatory meaning,

“a publication must be considered in its totality.” Byrd, 433 So. 2d at 595 (“Articles

are to be considered with their illustrations; pictures are to be viewed with their

captions; stories are to be read with their headlines.”); see Parekh, 820 F. App’x at 835

(“[P]ictures must also be viewed in the context of the entire news report.”); Smith v.

Cuban Am. Nat’l Found., 731 So. 2d 702, 705 (Fla. 3d DCA 1999) (“To determine

whether a statement is defamatory, it must be considered in the context of the

publication.”). Thus, when an alleged defamatory meaning flows from a chyron

shown throughout the entirety of an allegedly defamatory telecast, it is proper to

review the telecast as a whole, because the chyron may be “temper[ed] by the content

of a [telecast, which] may clarify the headline in such a way that no [viewer] could

                                            13
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 14 of 25 PageID 65




reasonably believe the defamatory meaning of the headline.” Crall v. Gannett Satellite

Info. Network, Inc., 1992 WL 400713, at *3 (S.D. Ohio Nov. 6, 1992) (headline that

intimated that plaintiff faced jail sentence for misdemeanor was not defamatory where

article made clear he only had to pay a fine); see, e.g., Kronk v. American Media, Inc.,

2015 WL 3473205, at *3 (Fla. Cir .Ct. Mar. 30, 2015) (report that juxtaposed headline

asserting that plaintiff killed murder victim with image of plaintiff was not defamatory

where article made clear that plaintiff had merely been identified in murder suspect’s

court filing), aff’d, 216 So. 3d 640 (Fla. 5th DCA 2016) (per curiam); Sabino v. WOIO,

L.L.C., 56 N.E.3d 368, 379-80 (Ohio Ct. App. 2016) (banner stating “Child Porn

Found on Computer” not defamatory where broadcast clarified that plaintiff was only

suspected of having child pornography); Smith v. Sandusky Newspapers, Inc., 2018 WL

3046537, at *3-4 (N.D. Ohio June 20, 2018) (headline stating that plaintiff stole was

nonactionable because context showed that headline was describing “unproved,

unadjudicated charge”); Molin v. Trentonian, 297 N.J. Super. 153, 157 (N.J. Super.

App. Div. 1997) (headline did not imply plaintiff had been convicted of stalking where

the article made it clear he had only been arrested for and charged with stalking).

      Here, the Chyron that is displayed throughout the Report reads “Inside A

Gathering of QAnon Followers” and is an obvious reference to the convention in

Arizona that is the central subject of the Report. See, e.g., Bolger Decl. Ex. 5. And the

Report, as a whole, does not come close to even implying, let alone stating, that

Plaintiff attended that conference. The narration makes clear that the Report used

parts of the Video to contextualize the prominent use of the QAnon Slogan by the

                                           14
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 15 of 25 PageID 66




Arizona gathering attendees. See Rubin v. U.S. News & World Report, 271 F.3d 1305,

1307-08 (11th Cir. 2001) (article about drug trafficking that included photograph of

and quote by plaintiff was not defamatory where plaintiff’s likeness and statement

were included to provide context to reporting). And the Video clearly takes place

outdoors by a firepit in the summer, not in a conference room in Arizona in the fall.

Additionally, it defies credulity to suggest that the Chyron accuses everyone that

merely appears in the Report of being a QAnon follower. To the contrary, the Chyron

is shown when the faces of Travis View, an anti-QAnon blogger, and even O’Sullivan

himself, are displayed. In sum, no reasonable reader would ascribe to the Report any

of the false, defamatory meanings Plaintiff proffers in her Complaint. 4

       C.      Plaintiff’s Defamation Per Se Claim Relies On Extrinsic Evidence

       Plaintiff has also failed to plausibly allege that the alleged defamatory meaning

she ascribes to the Report is per se defamatory.5 Under Florida law, defamation may

be “established per se or per quod.” Anderson v. Smith, 2020 WL 10058207, at *1 (M.D.

Fla. Mar. 24, 2020). A publication “rises to the level of libel per se if, when considered

alone and without innuendo, it … tends to subject one to hatred, distrust, ridicule,

contempt, or disgrace….”Id. at *2 (quotations and citation omitted); Daniels v. HSN,

Inc., 2020 WL 533927, at *3-4 (M.D. Fla. Feb. 3, 2020). A per se defamation claim



4
 Plaintiff states that the court in the SDNY Suit found the Chyron to be defamatory, Compl. ¶ 19,
by citing Flynn, 2021 WL 5964129 at *4, which in turn cites the R. & R. But the R. & R. did not
reach the issue, instead concluding that the statements were substantially true.
5
 The court in the SDNY Suit held that Plaintiff’s relatives had failed to plausibly plead defamation
per se. Flynn, 2021 WL 5964129, at *5-6.


                                                 15
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 16 of 25 PageID 67




exists only where words “upon their face and without the aid of extrinsic proof were

injurious.” Boyles v. Mid-Fla. Television Corp., 431 So. 2d 627, 633 (Fla. 5th DCA 1983),

approved, 467 So. 2d 282 (Fla. 1985) (quotations and citation omitted). “In a per se

action, consideration is only given to the four corners of the publication.” Daniels, 2020

WL 533927 at *4. “[L]ooking outside the four corners of the [publication] … would

run afoul the very nature of a per se action.” Mac Isaac, 557 F. Supp. 3d at 1259-60. 6

       Here, Plaintiff’s defamation per se claim is undercut by her own Complaint,

which is replete with references to extrinsic evidence. In fact, her essential assertion of

falsity and defamatory meaning, that CNN “falsely accused [Plaintiff] of being a

‘follower’ of the ‘dangerous’, ‘violent’, ‘racist’, ‘extremist’, ‘insurrectionist’, ‘domestic

terrorism’ movement – QAnon,” Compl. ¶ 3, is alleged to be defamatory only by

reference to other sources, including the FBI and DHS, id. ¶ 1; the Wall Street Journal,

id.; 60 Minutes, id.; a different CNN telecast, id. ¶ 2; and House Resolution 1094. Id. ¶

20 n.6; see Bolger Decl. Exs. 3, 15-17. But none of the language that she cites to appears

in the Report.7 Simply put, Plaintiff has not adequately alleged the Report is



6
 Even if the Report called Plaintiff a QAnon follower, that would not amount to defamation per se,
because when judged “by the temper of the times and the current of contemporary public opinion”
saying one is a QAnon follower, without more, is not defamatory, even if some people find
QAnon’s views extreme. See Pritchard v. Herald Co., 120 A.D.2d 956, 956 (N.Y. App. 4th Dep’t 1986)
(describing plaintiff as “controversial” or a “black activist” not defamatory); see Weinstein v.
Friedman, 1996 WL 137313, at *14 (S.D.N.Y. Mar. 26, 1996), aff’d, 112 F.3d 507 (2d Cir. 1996)
(“militant activist” not susceptible to defamatory meaning); Steinman v. Di Roberts, 23 A.D.2d 693,
693-94 (N.Y. App. 2d Dep’t 1965), aff’d, 17 N.Y.2d 512 (N.Y. 1966) (statements labeling plaintiff as
a “left-winger” were not defamatory). That is especially true in the context of the Report, in which
the former President of the United States is shown refusing to disavow QAnon.
7
 To the extent that Plaintiff relies on Zimmerman v. Buttigieg, 521 F. Supp. 3d 1197, 1214 (M.D. Fla.
2021), Compl. ⁋ 19, that case is inapposite. There, the court found that the plaintiff stated a


                                                 16
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 17 of 25 PageID 68




defamatory on its face and therefore has not alleged defamation per se.

       D.      Plaintiff’s Defamation Per Quod Claim Is Fatally Deficient

       Nor has Plaintiff alleged a claim for defamation per quod. Defamation per quod

requires the defamatory statement “be put into context so as to demonstrate its

defamatory meaning.” Anderson, 2020 WL 10058207, at *3 (citation and quotation

omitted). Importantly, “special damages, that is ‘actual economic damage,’ must be

proven to state a claim under this theory,” and to claim special damages, a plaintiff

must plead a “realized or liquidated loss.” Id.; see Daniels, 2020 WL 533927 at *6

(“[T]he chief characteristic of special damages is a realized or liquidated loss.”); Falic

v. Legg Mason Wood Walker, Inc., 347 F. Supp. 2d 1260, 1268 (S.D. Fla. 2004) (“Special

damages are actual, out of pocket losses which must be proven by specific evidence as

to the time, cause and amount[.]”). Where a plaintiff fails to show special damages, a

“claim for defamation per quod fails.” See Daniels, 2020 WL 533927 at *5 (converting

per se into per quod claim and holding that the “[p]laintiff has not pointed to any

evidence of special damages”) Id. “It is not enough to claim damages in a conclusory

manner; rather … [the] injurious effect must be established by due allegation and

proof.’” Anderson, 2020 WL 10058207, at *3-4 (plaintiff failed to plead special damages

where she “does not identify . . . present professional vocation” and “does not allege

an actual loss of employment, or a realized loss attributable to her diminished stature

in the community.”) Id. at *4.


defamation per se claim solely based on the allegedly defamatory meaning of the challenged
statements.


                                                17
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 18 of 25 PageID 69




       Here, Plaintiff alleges that CNN has caused her “presumed damages and actual

injury, including, but not limited to, insult, pain, embarrassment, humiliation,

emotional suffering, injury to her reputation, lost future earnings and diminished

earning capacity” and that she had to “change her phone number,[] lost friendships

and has suffered a deep loss of trust and personal fear of the media.” Compl. ¶¶ 9, 22,

25, 30. But that is all. As in Anderson, Plaintiff does not state whether she is currently

employed (or where), or allege with any specificity that, let alone how, the Report

jeopardized that job, or her job prospects more generally. And she fails to connect any

“realized loss” to the supposed reputational harm she alleges the Report caused.8 In

short, Plaintiff’s boilerplate recitals and conclusory assertions are insufficient to state

a claim. In fact, the SDNY court held that the New York plaintiffs’ nearly identical

damages allegations were insufficient to plead special damages. Flynn v. Cable News

Network, Inc., 2021 WL 5964129, at *5. Even if the Court was to consider Plaintiff’s

claim as one for defamation per quod, it would fail, as she has not pleaded special

damages.9 Plaintiff, therefore, has failed to make out a claim for defamation per se or


8
 In fact, Plaintiff’s principal allegation of harm is that in September 2021 – months after the Report
aired – her bank canceled her credit cards allegedly because of vague “reputational risk,” although
the bank later reversed the cancellation due to “error.” Compl. ¶ 20 n.5. But Plaintiff pleads no facts
connecting the Report to the bank’s alleged cancellation of her cards, nor does she plead any actual
loss resulting from the incident. Accordingly, any implied link between the two events amounts to
nothing more than wild, unsupported conjecture and plainly cannot satisfy her burden to plead
special damages.
9
  Florida law has “eliminate[d] presumed damages for defamation per se actions against media
defendants.” Corsi v. Newsmax Media, Inc., 519 F. Supp. 3d 1110, 1119 (S.D. Fla. 2021) (citing Mid-
Florida Television Corp., 467 So. 2d 282) appeal pending; see also Rubinson v. Rubinson, 474 F. Supp. 3d
1270, 1274 (S.D. Fla. 2020) (“Plaintiff's first count, defamation per se, is a tort recognized under
Florida law when brought against a non-media defendant.”) (citation omitted). Accordingly, this
Court should strike Plaintiff’s allegations of presumed damages. Compl. ¶¶ 8, 22, 25, 30.


                                                  18
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 19 of 25 PageID 70




per quod under Florida law.

III.   PLAINTIFF HAS NOT PLEADED DEFAMATION BY IMPLICATION

       Plaintiff’s defamation by implication claim is also fatally deficient.

       A.    Plaintiff Has Failed to Allege The Literal Truth of the Juxtaposed
             Facts

       Whether statements are defamatory by implication is a question of law. Turner

v. Wells, 879 F.3d 1254, 1269 (11th Cir. 2018) (citing Brown v. Tallahassee Democrat,

Inc., 440 So. 2d 588, 590 (Fla. 1st DCA 1983)). To plead defamation by implication, a

plaintiff must show “(1) a juxtaposition of a series of facts so as to imply a defamatory

connection between them, or (2) the creation of a defamatory implication by omitting

facts.” Klayman v. City Pages, 2014 WL 12621240, at *6 n.6 (M.D. Fla. July 9, 2014),

aff'd, 650 F. App'x 744, 749 (11th Cir. 2016) (citing Jews for Jesus, 997 So. 2d at 1106).

But because “defamation by implication applies in circumstances where literally true

statements are conveyed in such a way as to create a false impression,” a plaintiff must

therefore specifically allege that the underlying statements are literally true. Jews for

Jesus, 997 So.2d at 1108; see also Klayman, 2014 WL 12621240, at *6.

       Here, Plaintiff may have pleaded the alleged defamatory implication – “CNN

juxtaposed a series of facts so as to imply a defamatory connection between” Plaintiff

and QAnon, Compl. ¶ 28 – but she has failed to allege what literally true facts give rise

to it. Sloan, 2018 WL 3769968, at *6 (“Plaintiff must … allege that the underlying

statements are true”); see also Jews for Jesus, 997 So. 2d at 1106; Klayman, 2014 WL

12621240 at *6. In fact, it is entirely unclear from the Complaint what literally true



                                           19
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 20 of 25 PageID 71




facts Plaintiff claims support her defamation by implication claim as opposed to what

false facts she claims support her defamation claim – because they appear to be one

and the same. Plaintiff specifically relies on the very same paragraphs of her Complaint

(paragraphs 1-13 and 24) to support both of her claims, compare Compl. ¶ 14 with ¶ 26,

and many of those paragraphs allege that the Report explicitly and falsely asserted that

Plaintiff was a QAnon follower. See, e.g., Compl. ¶ 3 (alleging that “CNN falsely

accused Lori of being a ‘follower’ … of QAnon); id. ¶ 6 (describing purported effect of

“CNN’s false statements”), id. ¶ 7 (alleging that CNN “falsely attributed” to Plaintiff

various associations and actions); see also Jacoby v. Cable News Network, Inc., 537 F.

Supp. 3d 1303, 1313 (M.D. Fla. 2021), aff'd, 2021 WL 5858569 (11th Cir. Dec. 10,

2021) (“The [c]ourt cannot accept as true [p]laintiff's allegation … that this statement

is false, while also accepting as true [p]laintiff's allegation … that this same statement

is true.”); cf. Zimmerman, 2021 WL 6065781 at *9 (“causes of action for defamation by

implication and defamation per se are mutually exclusive”). Thus, Plaintiff has failed

to plead the literally true facts she claims gave rise to the defamatory implication, and

instead relies on the assertedly false statement of fact that Plaintiff is a QAnon follower

– meaning that her claims are flatly contradictory. And though a plaintiff may plead

inconsistent claims, doing so only gets you so far. Jacoby, 537 F. Supp. 3d at 1313 n.5

(recognizing that claims pleaded in the alternative are not required to be consistent but

emphasizing that “a court need not feel constrained to accept as truth conflicting

pleadings that make no sense, or that would render a claim incoherent, or that are




                                            20
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 21 of 25 PageID 72




contradicted ... by statements in the complaint itself”) (quoting Accurate Grading Quality

Assur., Inc. v. Thorpe, 2013 WL 1234836, at *8 (S.D.N.Y. Mar. 26, 2013)). Plaintiff

cannot have it both ways: defamation is either express or implied, not both at once.

      Next, Plaintiff bases her claim primarily on CNN’s alleged “intentional[] and

selective[] edit[ing]” of the Video, which she asserts implicitly defamed her by omitting

from the Report footage of Plaintiff speaking the federal oath of office and the words

“God Bless America.” Compl. ¶ 28. Initially, as a matter of law, omitting facts can

only render an implication defamatory where the omission changes the meaning of

the Report. See Nix v. ESPN, Inc., 772 F. App'x 807, 814 (11th Cir. 2019) (defamation

by implication claim failed where meaning of allegedly defamatory publication would

have been the same with or without omitted facts). But here, the allegedly omitted

segments did not – and could not – change the gist of the Report. Even if it had

included Plaintiff’s expressions of patriotism, the Report would still have shown that

Plaintiff stood next to General Flynn when he took part in #TakeTheOath. Indeed,

CNN’s omissions arguably cast Plaintiff in a better light than does the full, unedited

Video. Had CNN included the full Video, its viewers would have seen Plaintiff herself

speaking the QAnon Slogan while holding up her right hand, a slogan emblazoned on

clothing worn by individuals who stormed the Capitol. The actual, unedited footage,

therefore, would have more closely aligned Plaintiff with QAnon than the Report.

Including that footage could not have made the Report less defamatory.

      B.     Plaintiff Cannot Show That CNN Intended the Alleged Defamatory
             Implication


                                           21
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 22 of 25 PageID 73




      Plaintiff’s claim also fails because Plaintiff has not plausibly alleged CNN

intended the alleged defamatory implication. “Because the Constitution provides a

sanctuary for truth . . . the defamatory language must not only be reasonably read to

impart the false innuendo, but it must also affirmatively suggest that the author intends

or endorses the inference.” Jews for Jesus, 997 So. 2d at 1107 (emphasis added) (quoting

Guilford Transp. Indus., Inc. v. Wilner, 760 A.2d 580, 596 (D.C. 2000)). Courts across

the country agree. See, e.g., Nunes v. WP Co. LLC, 2022 WL 997826, at *3-4 (D.C Cir.

Apr. 1, 2022); Compuware Corp. v. Moody’s Investors Servs., 499 F.3d 520, 528-29 (6th

Cir. 2007); Howard v. Antilla, 294 F.3d 244, 252 (1st Cir. 2002); Newton v. Nat’l Broad.

Co., 930 F.2d 662, 681 (9th Cir. 1990); Saenz v. Playboy Enters., Inc., 841 F.2d 1309,

1317-18 (7th Cir. 1988). Here, Plaintiff’s only effort to plead intent is to assert that

CNN’s editing of the Video shows that it “intended and endorsed the defamatory

meaning [that Plaintiff is QAnon follower].” Compl. ¶ 3. But this boilerplate,

unsupported allegation is insufficient as a matter of law. Iqbal, 556 U.S. at 682-83.

And, in any event, Plaintiff could not plead intent. The Report focuses on the Arizona

gathering, and the Video is used only to contextualize the phrase “where we go one

we go all” within its broader contention that Trump legitimized QAnon by refusing to

disavow its beliefs and that General Flynn promoted its slogan. Bolger Decl. Ex. 5.

The Report simply does not demonstrate CNN’s supposed intent to label Plaintiff a

QAnon follower.

      C.     Plaintiff Has Failed To Plausibly Allege Negligence

      Finally, Plaintiff has failed to adequately allege that CNN acted negligently in

                                           22
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 23 of 25 PageID 74




publishing the Report. Under Florida law, a private figure plaintiff must prove “that

the defendant published the [challenged] statements with negligence, … i.e., without

reasonable care as to whether the alleged false and defamatory statements were

actually true or false.”10 Miami Herald Publ’g Co. v. Ane, 423 So. 2d 376, 378 (Fla. 3d

DCA. 1982), approved, 458 So. 2d 239 (Fla. 1984).

       Here, Plaintiff pleads no facts that plausibly allege that CNN acted negligently

in telecasting the Report. See Hakky v. Washington Post Co., 2010 WL 2573902, at *2

(M.D. Fla. June 24, 2010) (holding that the plaintiff’s allegations “do not contain

adequate facts under Iqbal to demonstrate that [the d]efendants acted negligently” in

publishing the allegedly defamatory statements). Plaintiff concedes, as she must, that

she spoke the words “where we go one, we go all.” Compl. ¶ 3.11 As discussed above,

it is a matter of public record that the phrase is commonly used by QAnon followers,

and Plaintiff herself provides substantial evidence that the QAnon Slogan is a core

QAnon belief. See Bolger Decl. Exs. 2, 13. Plaintiff herself notes that General Flynn

posted the Video to Twitter. Compl. ¶ 3. It is, therefore, plain, from Plaintiff’s own

Complaint and from the public record, that Plaintiff was publicly associated – by her

own actions – with QAnon long before the Report was distributed. Plaintiff’s own

pleaded facts demonstrate that CNN did not have reasonable grounds to doubt the

allegedly defamatory allegation that Plaintiff was affiliated with QAnon, just as it

10
  For purposes of this motion only, CNN assumes, but by no means concedes, that Plaintiff is a
private figure.
11
  Plaintiff asserts that CNN was negligent because it did not contact her for comment. See Compl. ¶
23. But she cites no Florida or Eleventh Circuit authority for that proposition, because she cannot.


                                                23
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 24 of 25 PageID 75




would not have had reasonable grounds to doubt an assertion that Plaintiff was an

Alabama football fan if she had publicly proclaimed, “Roll Tide.”12

        Moreover, a publisher is not negligent as a matter of law where it relied on

“other reliable periodicals, newspapers and wire service reports” for its story. Nelson,

667 F. Supp. at 1477; see also Watkins v. Washington Post, 2018 WL 805394, at *7 (D.

Md. Feb. 9, 2018) (“reporters are not negligent … when relying on other reputable

sources”). Plaintiff alleges that, long before the Report was distributed, news

organizations throughout the country (including CNN) reported on the Video,

describing how the Flynns used “a slogan associated with QAnon.” Bolger Decl. Ex.

2; Compl. ¶ 3 n.1. CNN, therefore, would not have had reasonable grounds to doubt

the allegedly defamatory allegation that Plaintiff was affiliated with QAnon (again, an

inference not actually arising from the words used in the Report). In sum, Plaintiff has

not adequately pleaded negligence.

                                          CONCLUSION

        For the foregoing reasons, Plaintiff’s claims should be dismissed with prejudice.

                         LOCAL RULE 3.01(g) CERTIFICATION

        Counsel for CNN certifies that she conferred with counsel for Plaintiff by

detailed email dated May 18, 2022 describing the grounds for this motion and offering


12
  To the degree Plaintiff believes that O’Sullivan’s June 15, 2021 tweet containing the Report
evidences CNN’s state of mind (see Compl. ¶ 24(g)), she is mistaken. First, Plaintiff is simply
incorrect that the tweet constitutes a republication. See Lokhova v. Halper, 995 F.3d 134, 143 (4th Cir.
2021) (“[m]erely linking to an article should not amount to republication”). Second, O’Sullivan’s
tweet does not support any inference of actual malice or negligence. Here, unlike in Nunes v. Lizza,
12 F.4th 890 (8th Cir. 2021) (see Compl. ¶ 24(g)), the litigation that allegedly put CNN on notice as
to the falsity of the Report – the SDNY Suit – did not involve Plaintiff. See Bolger Decl. Ex. 6.


                                                   24
Case 8:22-cv-00512-MSS-AEP Document 19 Filed 05/20/22 Page 25 of 25 PageID 76




to speak by phone. Counsel for Plaintiff said that counsel for CNN’s email sufficiently

stated CNN’s position, that Plaintiff intends to oppose the motion in full, and that

further communication was not required.

                                               Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I hereby certify that on May 20, 2022 a true and correct copy of the foregoing

was served via CM/ECF on all counsel of record.

                                               /s/ Deanna K. Shullman
                                               Deanna K. Shullman




                                          25
